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14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW

17             Plaintiff,                          JOINT PROPOSED JURY
18                                                 INSTRUCTIONS
                      v.
19   ALEXANDER SMIRNOV,                            Trial Date:      December 3, 2024
20                                                 Trial Time:      9:00 a.m.
               Defendant.                          Location:        Courtroom of the
21                                                                  Hon. Otis Wright
22
23
24
          The parties— the Plaintiff, United States of America, by and through its counsel of
25
     record, and Defendant Alexander Smirnov, by and through his counsel of record—
26
     pursuant to the Court’s April 12, 2024 Order Continuing Trial (ECF 65), which
27
28                                             i
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 1   incorporates by reference the parties’ joint stipulation (ECF 64) submit their Proposed
 2   Joint Jury Instructions for the trial of defendant Alexander Smirnov.
 3         Unless otherwise noted, the parties have used the most recent version (as of
 4   December 2023) of the Model Criminal Jury Instructions found on the Ninth Circuit’s
 5   website at: https://www.ce9.uscourts.gov/jury-instructions/model-criminal.
 6    Dated: November 18, 2024
 7
      Respectfully submitted,
 8
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10
                    /s/                       _________/s/_____________________
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 5                                   Jury]
          2        Presumption of    Ninth Circuit Model Criminal Jury               2
 6                   Innocence       Instructions, No 1.2 (2022 ed.)
 7                                   [Presumption of Innocence]
          3       What is Evidence Ninth Circuit Model Criminal Jury                 3
 8
                                     Instructions, No 1.3 (2022 ed.) [What is
 9                                   Evidence]
          4         What is Not      Ninth Circuit Model Criminal Jury               4
10
                      Evidence       Instructions, No 1.4 (2022 ed.) [What is Not
11                                   Evidence]
12        5           Direct &       Ninth Circuit Model Criminal Jury               5
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13                    Evidence       Circumstantial Evidence]
14        6          Ruling on       Ninth Circuit Model Criminal Jury               6
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15                                   Objections]
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17                                   of Witnesses]
18        8      Conduct of the Jury Ninth Circuit Model Criminal Jury               9
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19                                   the Jury]
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22        10        Taking Notes     Ninth Circuit Model Criminal Jury              13
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25                                   Trial]
26        12        Questions to     Ninth Circuit Model Criminal Jury              15
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15                               Jury to Find Facts and Follow Law]
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18            Presumption of     Presumption of Innocence – Burden of
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19                of Proof
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21            Bankruptcy (18
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 1                          I.     PRELIMINARY INSTRUCTIONS
 2                          JOINT PROPOSED INSTRUCTION NO. 1
 3                                          Duty of Jury
 4   Jurors: You now are the jury in this case, and I want to take a few minutes to tell you
 5   something about your duties as jurors and to give you some preliminary instructions. At
 6   the end of the trial I will give you more detailed written instructions that will control your
 7   deliberations.
 8
 9          When you deliberate, it will be your duty to weigh and to evaluate all the evidence
10   received in the case and, in that process, to decide the facts. To the facts as you find them,
11   you will apply the law as I give it to you, whether you agree with the law or not. You
12   must decide the case solely on the evidence and the law before you.
13
14          Perform these duties fairly and impartially. You should not be influenced by any

15   person’s race, color, religious beliefs, national ancestry, sexual orientation, gender

16   identity, gender, or economic circumstances. Also, do not allow yourself to be influenced

17   by personal likes or dislikes, sympathy, prejudice, fear, public opinion, or biases, including

18   unconscious biases. Unconscious biases are stereotypes, attitudes, or preferences that

19   people may consciously reject but may be expressed without conscious awareness, control,

20   or intention.    Like conscious bias, unconscious bias can affect how we evaluate

21   information and make decisions.

22
23
24   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.1 (2022 ed.) (rev’d Mar.

25   2024) [Duty of Jury]

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 1                         JOINT PROPOSED INSTRUCTION NO. 2
 2                                  Presumption of Innocence
 3   This is a criminal case brought by the United States government. The government charges
 4   the defendant with knowingly and willfully making a false statement to the Federal Bureau
 5   of Investigation, in violation of 18 U.S.C. § 1001, and knowingly causing the making of a
 6   false entry in an FBI form with the intent to impede, obstruct, and influence a matter within
 7   the jurisdiction of the United States Department of Justice, in violation of 18 U.S.C. §§
 8   1519 and 2(b). The charges against the defendant are contained in the indictment. The
 9   indictment simply describes the charges the government brings against the defendant. The
10   indictment is not evidence and does not prove anything.
11
12   The defendant has pleaded not guilty to the charges and is presumed innocent unless and
13   until the government proves the defendant guilty beyond a reasonable doubt. In addition,
14   the defendant has the right to remain silent and never has to prove innocence or present
15   any evidence.
16
17   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.2 (2022 ed.) [Presumption
18   of Innocence]
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 1                         JOINT PROPOSED INSTRUCTION NO. 3
 2                                       What Is Evidence
 3   The evidence you are to consider in deciding what the facts are consists of:
 4   (1) the sworn testimony of any witness;
 5   (2) the exhibits which are received in evidence; and
 6   (3) any facts to which the parties agree.
 7
 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.3 (2022 ed.) [What is
 9   Evidence]
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 1                         JOINT PROPOSED INSTRUCTION NO. 4
 2                                         What Is Not Evidence
 3         The following things are not evidence, and you must not consider them as evidence
 4   in deciding the facts of this case:
 5   (1) statements and arguments of the attorneys;
 6   (2) questions and objections of the attorneys;
 7   (3) testimony that I instruct you to disregard; and
 8   (4) anything you may see or hear when the court is not in session even if what you see or
 9   hear is done or said by one of the parties or by one of the witnesses.
10
11   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.4 (2022 ed.) [What is Not
12   Evidence]
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 1                        JOINT PROPOSED INSTRUCTION NO. 5
 2                              Direct & Circumstantial Evidence
 3
 4         Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 5   such as testimony by a witness about what that witness personally saw or heard or did.
 6   Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
 7   which one can find another fact.
 8
 9         You are to consider both direct and circumstantial evidence. Either can be used to
10   prove any fact. The law makes no distinction between the weight to be given to either
11   direct or circumstantial evidence. It is for you to decide how much weight to give to any
12   evidence.
13
14   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.5 (2022 ed.) [Direct and
15   Circumstantial Evidence]
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 1                         JOINT PROPOSED INSTRUCTION NO. 6
 2                                      Ruling on Objections
 3
 4         There are rules of evidence that control what can be received in evidence. When a
 5   lawyer asks a question or offers an exhibit in evidence and a lawyer on the other side
 6   thinks that it is not permitted by the rules of evidence, that lawyer may object. If I overrule
 7   the objection, the question may be answered or the exhibit received. If I sustain the
 8   objection, the question cannot be answered, or the exhibit cannot be received. Whenever
 9   I sustain an objection to a question, you must ignore the question and must not guess what
10   the answer would have been.
11
12         Sometimes I may order that evidence be stricken from the record and that you
13   disregard or ignore the evidence. That means that when you are deciding the case, you
14   must not consider the evidence that I told you to disregard.
15
16   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.6 (2022 ed.) [Ruling on
17   Objections]
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 1                         JOINT PROPOSED INSTRUCTION NO. 7
 2                                    Credibility of Witnesses
 3
 4    In deciding the facts in this case, you may have to decide which testimony to believe and
 5   which testimony not to believe. You may believe everything a witness says, or part of it,
 6   or none of it.
 7
 8           In considering the testimony of any witness, you may take into account:
 9
10   First, the witness’s opportunity and ability to see or hear or know the things testified to;
11
12   Second, the witness’s memory;
13
14   Third, the witness’s manner while testifying;
15
16   Fourth, the witness’s interest in the outcome of the case, if any;
17
18   Fifth, the witness’s bias or prejudice, if any;
19
20   Sixth, whether other evidence contradicted the witness’s testimony;
21
22   Seventh, the reasonableness of the witness’s testimony in light of all the evidence; and
23
24   Eighth, any other factors that bear on believability.
25
26          Sometimes a witness may say something that is not consistent with something else
27   he or she said. Sometimes different witnesses will give different versions of what
28                                        7
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 1   happened. People often forget things or make mistakes in what they remember. Also, two
 2   people may see the same event but remember it differently. You may consider these
 3   differences, but do not decide that testimony is untrue just because it differs from other
 4   testimony.
 5
 6          However, if you decide that a witness has deliberately testified untruthfully about
 7   something important, you may choose not to believe anything that witness said. On the
 8   other hand, if you think the witness testified untruthfully about some things but told the
 9   truth about others, you may accept the part you think is true and ignore the rest.
10
11          You must avoid bias, conscious or unconscious, based on a witness’s race, color,
12   religious beliefs, national ancestry, sexual orientation, gender identity, gender, or
13   economic circumstances in your determination of credibility.
14
15          The weight of the evidence as to a fact does not necessarily depend on the number
16   of witnesses who testify about it. What is important is how believable the witnesses are,
17   and how much weight you think their testimony deserves.
18
19   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.7 (2022 ed.) (rev’d Mar.
20   2024) [Credibility of Witnesses]
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 1
 2                         JOINT PROPOSED INSTRUCTION NO. 8
 3                                      Conduct of the Jury
 4         I will now say a few words about your conduct as jurors.
 5
 6         First, keep an open mind throughout the trial, and do not decide what the verdict
 7   should be until you and your fellow jurors have completed your deliberations at the end
 8   of the case.
 9
10         Second, because you must decide this case based only on the evidence received in
11   the case and on my instructions as to the law that applies, you must not be exposed to any
12   other information about the case or to the issues it involves during the course of your jury
13   duty. Thus, until the end of the case or unless I tell you otherwise:
14         Do not communicate with anyone in any way and do not let anyone else
15         communicate with you in any way about the merits of the case or anything to do
16         with it. This restriction includes discussing the case in person, in writing, by phone,
17         tablet, or computer, or any other means, via email, via text messaging, or any
18         Internet chat room, blog, website or application, including but not limited to
19         Facebook, YouTube, Twitter, Instagram, LinkedIn, Snapchat, TikTok, or any other
20         forms of social media. This restriction also applies to communicating with your
21         fellow jurors until I give you the case for deliberation, and it applies to
22         communicating with everyone else including your family members, your employer,
23         the media or press, and the people involved in the trial, although you may notify
24         your family and your employer that you have been seated as a juror in the case, and
25         how long you expect the trial to last. But, if you are asked or approached in any way
26         about your jury service or anything about this case, you must respond that you have
27         been ordered not to discuss the matter. In addition, you must report the contact to
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 1         the court.
 2
 3         Because you will receive all the evidence and legal instruction you properly may
 4         consider to return a verdict: do not read, watch, or listen to any news or media
 5         accounts or commentary about the case or anything to do with it, although I have
 6         no information that there will be news reports about this case; do not do any
 7         research, such as consulting dictionaries, searching the Internet, or using other
 8         reference materials; and do not make any investigation or in any other way try to
 9         learn about the case on your own. Do not visit or view any place discussed in this
10         case, and do not use the Internet or any other resource to search for or view any
11         place discussed during the trial. Also, do not do any research about this case, the
12         law, or the people involved—including the parties, the witnesses, or the lawyers—
13         until you have been excused as jurors. If you happen to read or hear anything
14         touching on this case in the media, turn away and report it to me as soon as possible.
15
16         These rules protect each party’s right to have this case decided only on evidence
17   that has been presented here in court. Witnesses here in court take an oath to tell the truth,
18   and the accuracy of their testimony is tested through the trial process. If you do any
19   research or investigation outside the courtroom, or gain any information through improper
20   communications, then your verdict may be influenced by inaccurate, incomplete, or
21   misleading information that has not been tested by the trial process. Each of the parties is
22   entitled to a fair trial by an impartial jury, and if you decide the case based on information
23   not presented in court, you will have denied the parties a fair trial. Remember, you have
24   taken an oath to follow the rules, and it is very important that you follow these rules.
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 1         A juror who violates these restrictions jeopardizes the fairness of these proceedings,
 2   and a mistrial could result that would require the entire trial process to start over. If any
 3   juror is exposed to any outside information, please notify the court immediately.
 4
 5   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.8 (2022 ed.) [Conduct of
 6   the Jury]
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 1                         JOINT PROPOSED INSTRUCTION NO. 9
 2                                No Transcript Available to Jury
 3         At the end of the trial you will have to make your decision based on what you recall
 4   of the evidence. You will not have a written transcript of the trial. I urge you to pay close
 5   attention to the testimony as it is given.
 6
 7   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.9 (2022 ed.) [No Transcript
 8   Available to Jury]
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 1                        JOINT PROPOSED INSTRUCTION NO. 10
 2                                         Taking Notes
 3         If you wish, you may take notes to help you remember the evidence. If you do take
 4   notes, please keep them to yourself until you and your fellow jurors go to the jury room to
 5   decide the case. Do not let note taking distract you from being attentive. When you leave
 6   court for recesses, your notes should be left in the courtroom. No one will read your notes.
 7
 8         Whether or not you take notes, you should rely on your own memory of the
 9   evidence. Notes are only to assist your memory. You should not be overly influenced by
10   your notes or those of your fellow jurors.
11
12   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.10 (2022 ed.) [Taking
13   Notes]
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 1                          JOINT PROPOSED INSTRUCTION NO. 11
 2                                          Outline of Trial
 3            The next phase of the trial will now begin. First, each side may make an opening
 4   statement. An opening statement is not evidence. It is simply an outline to help you
 5   understand what that party expects the evidence will show. A party is not required to make
 6   an opening statement.
 7
 8            The government will then present evidence and counsel for the defendant may
 9   cross-examine. Then, if the defendant chooses to offer evidence, counsel for the
10   government may cross-examine.
11
12            After the evidence has been presented, I will instruct you on the law that applies to
13   the case and the attorneys will make closing arguments.
14
15            After that, you will go to the jury room to deliberate on your verdict.
16
17   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.11 (2022 ed.) [Outline of
18   Trial]
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 1                        JOINT PROPOSED INSTRUCTION NO. 12
 2                              Questions to Witnesses by Jurors
 3         Only the lawyers and I are allowed to ask questions of witnesses. A juror is not
 4   permitted to ask questions of witnesses. If, however, you are unable to hear a witness or a
 5   lawyer, please raise your hand and I will correct the situation.
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 7   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.12 (2022 ed.) [Questions to
 8   Witnesses by Jurors]
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 1                       JOINT PROPOSED INSTRUCTION NO. 13
 2                              Bench Conferences and Recesses
 3         During the trial, I may need to take up legal matters with the attorneys privately,
 4   either by having a conference at the bench when the jury is present in the courtroom, or
 5   by calling a recess. Please understand that while you are waiting, we are working. The
 6   purpose of these conferences is not to keep relevant information from you, but to decide
 7   how certain evidence is to be treated under the rules of evidence and to avoid confusion
 8   and error.
 9
10         Of course, we will do what we can to keep the number and length of these
11   conferences to a minimum. I may not always grant an attorney’s request for a conference.
12   Do not consider my granting or denying a request for a conference as any indication of my
13   opinion of the case or what your verdict should be.
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15   Source: Ninth Circuit Model Criminal Jury Instructions, No 1.16 (2022 ed.) [Bench
16   Conferences and Recesses]
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 1                       II.    INSTRUCTIONS DURING THE TRIAL
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 3                        JOINT PROPOSED INSTRUCTION NO. 14
 4                                     Cautionary Instruction
 5         At the End of Each Day of the Case:
 6         As I indicated before this trial started, you as jurors will decide this case based solely
 7   on the evidence presented in this courtroom. This means that, after you leave here for the
 8   night, you must not conduct any independent research about this case, the matters in the
 9   case, the legal issues in the case, or the individuals or other entities involved in the case.
10   This is important for the same reasons that jurors have long been instructed to limit their
11   exposure to traditional forms of media information such as television and newspapers.
12   You also must not communicate with anyone, in any way, about this case. And you must
13   ignore any information about the case that you might see while browsing the internet or
14   your social media feeds.
15         At the Beginning of Each Day of the Case:
16         As I reminded you yesterday and continue to emphasize to you today, it is important
17   that you decide this case based solely on the evidence and the law presented here. So you
18   must not learn any additional information about the case from sources outside the
19   courtroom. To ensure fairness to all parties in this trial, I will now ask each of you whether
20   you have learned about or shared any information about this case outside of this
21   courtroom, even if it was accidental.
22         [ALTERNATIVE 1 (in open court): If you think that you might have done so,
23   please let me know now by raising your hand. [Wait for a show of hands.] I see no raised
24   hands; however, if you would prefer to talk to the court privately in response to this
25   question, please notify a member of the court’s staff at the next break. Thank you for your
26   careful adherence to my instructions.]
27         [ALTERNATIVE 2 (during voir dire with each juror, individually): Have you
28                                              17
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 1   learned about or shared any information about this case outside of this courtroom? . . .
 2   Thank you for your careful adherence to my instructions.]
 3
 4   Source: Ninth Circuit Model Criminal Jury Instructions, No 2.1 (2022 ed.) [Cautionary
 5   Instructions]
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 1                       JOINT PROPOSED INSTRUCTION NO. 15
 2                                     Stipulations of Fact
 3   [IF APPLICABLE]
 4         The parties have agreed to certain facts that have been stated to you. Those facts are
 5   now conclusively established.
 6
 7   Source: Ninth Circuit Model Criminal Jury Instructions, No 2.3 (2022 ed.) [Stipulations
 8   of Facts]
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 1                       JOINT PROPOSED INSTRUCTION NO. 16
 2                                  Statements by Defendant
 3         You have heard testimony that the defendant made a statement. It is for you to
 4   decide (1) whether the defendant made the statement, and (2) if so, how much weight to
 5   give to it. In making those decisions, you should consider all the evidence about the
 6   statement, including the circumstances under which the defendant may have made it.
 7
 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 3.1 (2022 ed.) [Statements by
 9   Defendant or Codefendant]
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 1                         JOINT PROPOSED INSTRUCTION NO. 17
 2                             Impeachment Evidence—Witness
 3   [IF APPLICABLE]
 4         You have heard evidence that [name of witness], a witness, [specify basis for
 5   impeachment]. You may consider this evidence in deciding whether or not to believe this
 6   witness and how much weight to give to the testimony of this witness.
 7
 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 3.8 (2022 ed.) [Impeachment
 9   Evidence - Witness]
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 1                        JOINT PROPOSED INSTRUCTION NO. 18
 2                     Charts and Summaries Not Admitted into Evidence
 3         During the trial, certain charts and summaries were shown to you to help explain
 4   the evidence in the case. These charts and summaries were not admitted into evidence and
 5   will not go into the jury room with you. They are not themselves evidence or proof of any
 6   facts. If they do not correctly reflect the facts or figures shown by the evidence in the case,
 7   you should disregard these charts and summaries and determine the facts from the
 8   underlying evidence.
 9
10   Source: Ninth Circuit Model Criminal Jury Instructions, No 3.16 (2022 ed.) [Charts and
11   Summaries Not Admitted into Evidence]
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 1                          III.   INSTRUCTIONS AT END OF CASE
 2                         JOINT PROPOSED INSTRUCTION NO. 19
 3                         Duty of the Jury to Find Facts and Follow Law
 4         Members of the jury, now that you have heard all the evidence, it is my duty to
 5   instruct you on the law that applies to this case. A copy of these instructions will be
 6   available in the jury room for you to consult.
 7
 8          It is your duty to weigh and to evaluate all the evidence received in the case and,
 9   in that process, to decide the facts. It is also your duty to apply the law as I give it to you
10   to the facts as you find them, whether you agree with the law or not. You must decide the
11   case solely on the evidence and the law. You will recall that you took an oath promising
12   to do so at the beginning of the case. You should also not be influenced by any person’s
13   race, color, religious beliefs, national ancestry, sexual orientation, gender identity, gender,
14   or economic circumstances. Also, do not allow yourself to be influenced by personal likes
15   or dislikes, sympathy, prejudice, fear, public opinion, or biases[.] [, including unconscious
16   biases. Unconscious biases are stereotypes, attitudes, or preferences that people may
17   consciously reject but may be expressed without conscious awareness, control, or
18   intention.]
19
20          You must follow all these instructions and not single out some and ignore others;
21   they are all important. Please do not read into these instructions or into anything I may
22   have said or done as any suggestion as to what verdict you should return—that is a matter
23   entirely up to you.
24
25   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.1 (2022 ed.) [Duty of Jury
26   to Find Facts and Follow Law]
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 1                          JOINT PROPOSED INSTRUCTION NO. 20
 2    Charge Against Defendant Not Evidence – Presumption of Innocence – Burden of
 3                                               Proof
 4            The indictment is not evidence. The defendant has pleaded not guilty to the charges.
 5   The defendant is presumed to be innocent unless and until the government proves the
 6   defendant guilty beyond a reasonable doubt. In addition, the defendant does not have to
 7   testify or present any evidence. The defendant does not have to prove innocence; the
 8   government has the burden of proving every element of the charges beyond a reasonable
 9   doubt.
10
11   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.2 (2022 ed.) [Charge
12   Against Defendant Not Evidence – Presumption of Innocence – Burden of Proof]
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 1                        JOINT PROPOSED INSTRUCTION NO. 21
 2                              Defendant’s Decision Not to Testify
 3   [IF APPLICABLE]
 4          A defendant in a criminal case has a constitutional right not to testify. In arriving at
 5   your verdict, the law prohibits you from considering in any manner that the defendant did
 6   not testify.
 7
 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.3 (2022 ed.) [Defendant’s
 9   Decision Not to Testify]
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 1                          JOINT PROPOSED INSTRUCTION NO. 22
 2                               Defendant’s Decision to Testify
 3   [IF APPLICABLE]
 4         The defendant has testified. You should treat this testimony just as you would the
 5   testimony of any other witness.
 6
 7   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.4 (2022 ed.) [Defendant’s
 8   Decision to Testify]
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 1                         JOINT PROPOSED INSTRUCTION NO. 23
 2                                  Reasonable Doubt – Defined
 3            Proof beyond a reasonable doubt is proof that leaves you firmly convinced the
 4   defendant is guilty. It is not required that the government prove guilt beyond all possible
 5   doubt.
 6            A reasonable doubt is a doubt based upon reason and common sense and is not
 7   based purely on speculation. It may arise from a careful and impartial consideration of all
 8   the evidence, or from lack of evidence.
 9            If after a careful and impartial consideration of all the evidence, you are not
10   convinced beyond a reasonable doubt that the defendant is guilty, it is your duty to find
11   the defendant not guilty. On the other hand, if after a careful and impartial consideration
12   of all the evidence, you are convinced beyond a reasonable doubt that the defendant is
13   guilty, it is your duty to find the defendant guilty.
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16   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.5 (2022 ed.) [Reasonable
17   Doubt - Defined]
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 1                      JOINT PROPOSED INSTRUCTION NO. 24
 2                                     What Is Evidence
 3        The evidence you are to consider in deciding what the facts are consists of:
 4        (1) the sworn testimony of any witness;
 5        (2) the exhibits received in evidence; and
 6        (3) any facts to which the parties have agreed.
 7
 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.6 (2022 ed.) [What is
 9   Evidence]
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 1                       JOINT PROPOSED INSTRUCTION NO. 25
 2                                      What Is Not Evidence
 3      In reaching your verdict you may consider only the testimony and exhibits received in
 4   evidence. The following things are not evidence and you may not consider them in
 5   deciding what the facts are:
 6
 7      1. Questions, statements, objections, and arguments by the lawyers are not evidence.
 8         The lawyers are not witnesses. Although you must consider a lawyer’s questions to
 9         understand the answers of a witness, the lawyer’s questions are not evidence.
10         Similarly, what the lawyers have said in their opening statements, closing
11         arguments, and at other times is intended to help you interpret the evidence, but it
12         is not evidence. If the facts as you remember them differ from the way the lawyers
13         state them, your memory of them controls.
14
15      2. Any testimony that I have excluded, stricken, or instructed you to disregard is not
16         evidence. In addition, some evidence was received only for a limited purpose; when
17         I have instructed you to consider certain evidence in a limited way, you must do so.
18
19      3. Anything you may have seen or heard when the court was not in session is not
20         evidence. You are to decide the case solely on the evidence received at the trial.
21
22   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.7 (2022 ed.) [What is Not
23   Evidence]
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 1                        JOINT PROPOSED INSTRUCTION NO. 26
 2                             Direct and Circumstantial Evidence
 3         Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 4   such as testimony by a witness about what that witness personally saw or heard or did.
 5   Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
 6   which you can find another fact.
 7         You are to consider both direct and circumstantial evidence. Either can be used to
 8   prove any fact. The law makes no distinction between the weight to be given to either
 9   direct or circumstantial evidence. It is for you to decide how much weight to give to any
10   evidence.
11
12   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.8 (2022 ed.) [Direct and
13   Circumstantial Evidence]
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 1                           JOINT PROPOSED INSTRUCTION NO. 27
 2                                    Credibility of Witnesses
 3          In deciding the facts in this case, you may have to decide which testimony to believe
 4   and which testimony not to believe. You may believe everything a witness says, or part
 5   of it, or none of it.
 6
 7           In considering the testimony of any witness, you may take into account the
 8   following:
 9
10      • First, the opportunity and ability of the witness to see or hear or know the things
11        testified to;

12      • Second, the witness’s memory;
13
        • Third, the witness’s manner while testifying;
14
15      • Fourth, the witness’s interest in the outcome of the case, if any;
16      • Fifth, the witness’s bias or prejudice, if any;
17
        • Sixth, whether other evidence contradicted the witness’s testimony;
18
19      • Seventh, the reasonableness of the witness’s testimony in light of all the evidence;
20        and

21      • Eighth, any other factors that bear on believability.
22
23           Sometimes a witness may say something that is not consistent with something else

24   he or she said. Sometimes different witnesses will give different versions of what

25   happened. People often forget things or make mistakes in what they remember. Also, two

26   people may see the same event but remember it differently. You may consider these

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 1   differences, but do not decide that testimony is untrue just because it differs from other
 2   testimony.
 3
 4          However, if you decide that a witness has deliberately testified untruthfully about
 5   something important, you may choose not to believe anything that witness said. On the
 6   other hand, if you think the witness testified untruthfully about some things but told the
 7   truth about others, you may accept the part you think is true and ignore the rest.
 8
 9         You must avoid bias[, conscious or unconscious,] based on a witness’s race, color,
10   religious beliefs, national ancestry, sexual orientation, gender identity, gender, or
11   economic circumstances in your determination of credibility.
12
13          The weight of the evidence as to a fact does not necessarily depend on the number
14   of witnesses who testify. What is important is how believable the witnesses were, and
15   how much weight you think their testimony deserves.
16
17   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.9 (2022 ed.) (rev’d. Mar.
18   2024) [Credibility of Witnesses]
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 1                       JOINT PROPOSED INSTRUCTION NO. 28
 2                        Separate Consideration of Multiple Counts
 3         A separate crime is charged against the defendant in each count. You must decide
 4   each count separately. Your verdict on one count should not control your verdict on any
 5   other count.
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 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.11 (2022 ed.) [Separate
 9   Consideration of Multiple Counts]
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 1                        JOINT PROPOSED INSTRUCTION NO. 29
 2                                    On or About – Defined
 3         The indictment charges that the offenses alleged in Counts One and Two were
 4   committed “on or about” a certain date.
 5
 6         Although it is necessary for the government to prove beyond a reasonable doubt
 7   that the offenses were committed on a date reasonably near the date alleged in Counts One
 8   and Two of the indictment, it is not necessary for the government to prove that the offenses
 9   were committed precisely on the date charged.
10
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12   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.18 (2022 ed.) [On or About
13   Defined]
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 1                        JOINT PROPOSED INSTRUCTION NO. 30
 2                           False Statement to Government Agency
 3                                       (18 U.S.C. § 1001)
 4         [The parties have not reached agreed as to a joint submission for this instruction.
 5   The parties disputed instructions shall be filed separately.]
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 1                        JOINT PROPOSED INSTRUCTION NO. 31
 2      Obstruction of Justice – Destruction, Alteration, or Falsification of Records in
                        Federal Investigation (18 U.S.C. §§ 1519 & 2)
 3
 4         The defendant is charged in Count Two of the indictment with obstruction of justice
 5   in violation of Section 1519 of Title 18 of the United States Code. For the defendant to
 6   be found guilty of that charge, the government must prove each of the following elements
 7   beyond a reasonable doubt:
 8
 9          First, the defendant knowingly made a false entry in a record or document, or
10   caused another to do so; and
11
12          Second, the defendant acted with the intent to impede, obstruct, or influence an
13   actual or contemplated investigation of a matter within the jurisdiction of the Federal
14   Bureau of Investigation, which is a department or agency of the United States.
15
16          The government need not prove that the defendant’s sole or even primary
17   intention was to obstruct justice so long as the government proves beyond a reasonable
18   doubt that one of the defendant’s intentions was to obstruct justice. The defendant’s
19   intention to obstruct justice must be substantial.
20
21   Source: Ninth Circuit Model Criminal Jury Instructions, No 19.4 (2022 ed.) (rev’d. June
22   2021) [Obstruction of Justice – Destruction, Alteration or Falsification of Records in
23   Federal Investigations and Bankruptcy (18 U.S.C. § 1519)].
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 1                       JOINT PROPOSED INSTRUCTION NO. 32
 2                           Aiding and Abetting (18 U.S.C. § 2(b))
 3
 4         A defendant may be found guilty of the crimes charged even if the defendant did
 5   not personally commit the acts constituting the crime if the defendant willfully caused an
 6   act to be done that if directly performed by him would be an offense against the United
 7   States. A defendant who puts in motion or causes the commission of an indispensable
 8   element of the offense may be found guilty as if he had committed the element himself.
 9
10   Source: Ninth Circuit Model Criminal Jury Instructions, No 4.2 (2022 ed.) [Aiding and
11   Abetting (18 U.S.C. § 2(b))].
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 1                       JOINT PROPOSED INSTRUCTION NO. 33
 2
                                            Knowingly
 3
 4         An act is done knowingly if the defendant is aware of the act and does not act
 5   through ignorance, mistake, or accident. The government is not required to prove that
 6   the defendant knew that his acts or omissions were unlawful. You may consider
 7   evidence of the defendant’s words, acts, or omissions, along with all the other evidence,
 8   in deciding whether the defendant acted knowingly.
 9
10   Source: Ninth Circuit Model Criminal Jury Instructions, No 4.8 (2022 ed.) [Knowingly].
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 1                        JOINT PROPOSED INSTRUCTION NO. 34
 2                                              Venue
 3          The indictment alleges that some act or acts in furtherance of the crime charged
 4   occurred in the Central District of California. There is no requirement that all aspects of
 5   the crime charged take place here in the Central District of California. Before you may
 6   return a verdict of guilty, however, if that is your decision, the government must convince
 7   you that the defendant made the false statement in the Central District of California which
 8   includes Los Angeles, Ventura, San Luis Obispo, Santa Barbara, Orange, Riverside, and
 9   San Bernardino counties.
10          Unlike all the specific elements of the crimes charged that I have described
11   elsewhere in these instructions, this fact regarding venue need only be proven by a
12   preponderance of the evidence. This means the government need only convince you that
13   it is more likely than not that the defendant made the false statement in the Central District
14   of California.
15          The government, however, must prove all the offense-specific elements of any
16   crime charged, as I have described elsewhere in these instructions, beyond a reasonable
17   doubt. The lesser standard of preponderance of the evidence only applies to your decision
18   on the issue of venue.
19
20   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.32 (2022 ed.) (rev’d Mar.
21   2024) [Venue]; United States v. Fortenberry, 89 F.4th 702, 712 (9th Cir. 2023).
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 1                        JOINT PROPOSED INSTRUCTION NO. 35
 2                                        Duty to Deliberate
 3         When you begin your deliberations, elect one member of the jury as your foreperson
 4   who will preside over the deliberations and speak for you here in court.
 5
 6           You will then discuss the case with your fellow jurors to reach agreement if you
 7   can do so. Your verdict, whether guilty or not guilty, must be unanimous.
 8
 9          Each of you must decide the case for yourself, but you should do so only after you
10   have considered all the evidence, discussed it fully with the other jurors, and listened to
11   the views of your fellow jurors.
12
13            Do not be afraid to change your opinion if the discussion persuades you that you
14   should. But do not come to a decision simply because other jurors think it is right.
15
16          It is important that you attempt to reach a unanimous verdict but, of course, only if
17   each of you can do so after having made your own conscientious decision. Do not change
18   an honest belief about the weight and effect of the evidence simply to reach a verdict.
19
20          Perform these duties fairly and impartially. You should also not be influenced by
21   any person’s race, color, religious beliefs, national ancestry, sexual orientation, gender
22   identity, gender, or economic circumstances. Also, do not allow yourself to be influenced
23   by personal likes or dislikes, sympathy, prejudice, fear, public opinion, or biases[.] [,
24   including unconscious biases.        Unconscious biases are stereotypes, attitudes, or
25   preferences that people may consciously reject but may be expressed without conscious
26   awareness, control, or intention.]
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 1          It is your duty as jurors to consult with one another and to deliberate with one
 2   another with a view towards reaching an agreement if you can do so. During your
 3   deliberations, you should not hesitate to reexamine your own views and change your
 4   opinion if you become persuaded that it is wrong.
 5
 6   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.19 (2022 ed.) (rev’d Mar.
 7   2024) [Duty to Deliberate]
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 1                        JOINT PROPOSED INSTRUCTION NO. 36
 2                      Consideration of Evidence – Conduct of the Jury
 3         Because you must base your verdict only on the evidence received in the case and
 4   on these instructions, I remind you that you must not be exposed to any other information
 5   about the case or to the issues it involves. Except for discussing the case with your fellow
 6   jurors during your deliberations:
 7
 8         Do not communicate with anyone in any way and do not let anyone else
 9   communicate with you in any way about the merits of the case or anything to do with it.
10   This includes discussing the case in person, in writing, by phone, or electronic means, via
11   email, text messaging, or any Internet chat room, blog, website or other feature. This
12   applies to communicating with your family members, your employer, the media or press,
13   and the people involved in the trial. If you are asked or approached in any way about your
14   jury service or anything about this case, you must respond that you have been ordered not
15   to discuss the matter and to report the contact to the court.
16
17         Do not read, watch, or listen to any news or media accounts or commentary about
18   the case or anything to do with it; do not do any research, such as consulting dictionaries,
19   searching the Internet, or using other reference materials; and do not make any
20   investigation or in any other way try to learn about the case on your own.
21
22         The law requires these restrictions to ensure the parties have a fair trial based on the
23   same evidence that each party has had an opportunity to address. A juror who violates
24   these restrictions jeopardizes the fairness of these proceedings, and a mistrial could result
25   that would require the entire trial process to start over. If any juror is exposed to any
26   outside information, please notify the court immediately.
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28                                              42
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 1   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.20 (2022 ed.)
 2   [Consideration of Evidence – Conduct of the Jury]
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 1                       JOINT PROPOSED INSTRUCTION NO. 37
 2                                        Use of Notes
 3         Some of you have taken notes during the trial. Whether or not you took notes, you
 4   should rely on your own memory of what was said. Notes are only to assist your memory.
 5   You should not be overly influenced by your notes or those of your fellow jurors.
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 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.21 (2022 ed.) [Use of Notes]
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 1                       JOINT PROPOSED INSTRUCTION NO. 38
 2                            Jury Consideration of Punishment
 3         The punishment provided by law for these crimes is for the court to decide. You
 4   may not consider punishment in deciding whether the government has proved its case
 5   against the defendant beyond a reasonable doubt.
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 8   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.22 (2022 ed.) [Jury
 9   Consideration of Punishment]
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 1                        JOINT PROPOSED INSTRUCTION NO. 39
 2                                          Verdict Form
 3           A verdict form has been prepared for you. After you have reached unanimous
 4   agreement on a verdict, your foreperson should complete the verdict form according to
 5   your deliberations, sign and date it, and advise the clerk that you are ready to return to the
 6   courtroom.
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 9   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.23 (2022 ed.) [Verdict
10   Form]
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 1                       JOINT PROPOSED INSTRUCTION NO. 40
 2                                Communication with Court
 3         If it becomes necessary during your deliberations to communicate with me, you may
 4   send a note through the clerk, signed by any one or more of you. No member of the jury
 5   should ever attempt to communicate with me except by a signed writing, and I will respond
 6   to the jury concerning the case only in writing or here in open court. If you send out a
 7   question, I will consult with the lawyers before answering it, which may take some time.
 8   You may continue your deliberations while waiting for the answer to any question.
 9   Remember that you are not to tell anyone -- including me -- how the jury stands,
10   numerically or otherwise, on any question submitted to you, including the question of the
11   guilt of the defendant, until after you have reached a unanimous verdict or have been
12   discharged.
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     Source: Ninth Circuit Model Criminal Jury Instructions, No 6.24 (2022 ed.)
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     [Communication with Court]
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 1                        JOINT PROPOSED INSTRUCTION NO. 41
 2                                  Post-Discharge Instruction
 3           Now that the case has been concluded, some of you may have questions about the
 4   confidentiality of the proceedings. Now that the case is over, you are free to discuss it
 5   with any person you choose. By the same token, however, I would advise you that you
 6   are under no obligation whatsoever to discuss this case with any person.
 7
 8           If you do decide to discuss the case with anyone, I would suggest you treat it with
 9   a degree of solemnity in that whatever you do decide to say, you would be willing to say
10   in the presence of the other jurors or under oath here in open court in the presence of all
11   the parties.
12
13           Finally, always bear in mind that if you do decide to discuss this case, the other
14   jurors fully and freely stated their opinions with the understanding they were being
15   expressed in confidence. Please respect the privacy of the views of the other jurors.
16
17           Finally, if you would prefer not to discuss the case with anyone, but are feeling
18   undue pressure to do so, please feel free to contact the courtroom deputy, who will notify
19   me, and I will assist.
20
21   Source: Ninth Circuit Model Criminal Jury Instructions, No 6.31 (2022 ed.) [Post-
22   Discharge Instruction]
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